Case 2:19-cv-01217-R-GJS Document 8 Filed 03/08/19 Page 1of2 Page ID #:32

 

E-MAIL ADDRESS (Optional) :

ATTORNEY OR PARTY WITHOUT ATTORNEY (name and Address) FOR COURT USE ONLY
SCOTT J. FERRELL, (SBN 202091)
PACIFIC TRIAL ATTORNEYS

A PROFESSIONAL CORPORATION

4100 NEWPORT PLACE DRIVE, STE. 800
NEWPORT BEACH, CA 92660

TELEPHONE NO.: (949) 706-6464 FAX NO. (Optional):

ATTORNEY FOR (Name): PLAINTIFFS

 

MAILING ADDRESS;

BRANCH NAME:

UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
STREET ADDRESS: 312 N. SPRING ST.

CITY AND ZIP CODE: LOS ANGELES, CA 90012

 

PLAINTIFF/PETITIONER: BRIANNA RIVERA, ET AL. CASE NUMBER: 2:19-CV-1217 R (GJSx)

DEFENDANT/RESPONDENT: BRAINFM, INC., ET AL.

 

 

PROOF OF SERVICE OF SUMMONS Ref. No. or File No; 107 7262NG

 

 

IN A CIVIL ACTION

 

(Separate proof of service is required for each party served.)

1. At the time of service | was at least 18 years of age and not a party to this action.

2. | served copies of :

ak Summons IN A CIVIL ACTION

b.&X] Complaint

cO Alternative Dispute Resolution (ADR) package

d Civil Case Cover Sheet (served in complex cases only)

eQ] cross-complaint

f£. other (specify documents): NOTICE OF ASSIGNMENT TO UNITED STATES JUDGES; CERTIFICATION AND
NOTICE OF INTERESTED PARTIES

3. a. Party served: (specify name of party as shown on documents served):
BRAINFM, INC., ADELAWARE CORPORATION
b, Person served (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
under item 5b on whom substituted service was made)(specify name and relationship to the party named in item 3a):
ALISON RUTHMANNER, OFFICE MANAGER FOR HARVARD BUSINESS SERVICES, INC.
4, Address where the party was served: 16192 COASTAL HIGHWAY

LEWES, DE 19958

5. | served the party (check proper box)
a. &] by personal service. | personally delivered the documents listed in item 2 to the party or person authorized to
receive service of process for the party (1) on (date): FEBRUARY 28, 2019 (2) at: (time) 1:46 PM

b. C] by substituted service. On (date): at: (time) . | left the documents listed in item 2
with or in the presence of (name and title or relationship to the person indicated in item 3):

(1) 0
(2) O
(3) O

4)0

(6)

(business) a person at least 18 years of age apparently in charge at the office or usual place of business

of the person to be served. | informed him or her of the general nature of the papers.

(home) a competent member of the household (at least 18 years of age) at the dwelling house or usual

place of abode of the party. | informed him or her of the general nature of the papers.
(physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
address of the person to be served, other than a United States Postal Service post office box. | informed
him or her of the general nature of the papers.

| thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served

at the place where the copies were left (Code Civ. Proc., § 415.20). | mailed the documents on

(date): (city): or (] a declaration of mailing is attached.
| attach a declaration of diligence stating actions taken first to attempt personal service.

Page 1 of 2

 

Form Adopted for Mandatory Use
Judicial Council of California
POS-010 [Rev. January 1, 2007]

PROOF OF SERVICE OF SUMMONS Code of Civil Procedure § 417.10
Case 2:19-cv-01217-R-GJS Document 8 Filed 03/08/19 Page 2o0f2 Page ID #:33

 

 

PLANTIFF/PETITIONER: BRIANNA RIVERA, ET AL. CASE NUMBER:

 

 

DEFENDANT/RESPONDENT: BRAINFM, INC., ET AL. 2:19-CV-1217 R (GJSx)

 

5. c.] by mail and acknowledgment of receipt of service. | mailed the documents listed in item 2 to the party, to the
address shown in item 4, by first-class mail, postage prepaid,

(1) (date): (1) (city):

(3) 1 with two copies of the Notice and Acknowledgment of Receipt (form 982(a)(4)) and a postage-paid return
envelope addressed to me. (Attach completed Notice and Acknowledgement of Receipt (form 982(a)(4).)
(Code Civ. Proc., § 415.30.)

(4) FJ to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

d. (] by other means (specify means of service and authorizing code section):
oO Additional page describing service is attached.

6. The “Notice to the Person Served” (on the summons) was completed as follows:
a. C] as an individual defendant
b. [1] as the person sued under the fictitious name of (specify):
c. FJ] on behalf of (specify):
under the following Code of Civil Procedure section:

( 416.10 (corporation) C 415.95 (business organization, form unknown)
(J 416.20 (defunct corporation) ( 416.60 (minor)
CL) 416.30 (joint stock company/association) [1] 416.70 (ward or conservatee)
C) 416.40 (association or partnership) C 416.90 (authorized person)
C 416.50 (public entity) (415.46 (occupant)
OC other:

7. Person who served papers
a. Name: JACKIE APPLEGATE
b. Address: 800 W. 187 STREET, SUITE 200-B
LOS ANGELES, CALIFORNIA 90012
c. Telephone number: (213) 607-9000
d. The fee for service was: $ 182.50
e. tam:
(1) & not a registered California process server,
(2) CF exempt from registration under Business and Professions Code section 22350(b).
(3) C registered California process server:
(i) CJ owner [] Employee (1 independent contractor.
(ii) [J Registration No.:
(iii) (J County: STAT EOF DE

 

8. IX] | declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Or
9. | am a California sherif or marshal and | certify that the foregoing is true and correct.

Date: FEBRUARY 28, 2019

 

 

JACKIE APPLEGATE
(NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHALL) (SIGNATURE)
Page 2 of 2
Form Adopted for Mandatory Use PROOF OF SERVICE OF SUMMONS Code of Civil Procedure § 417.10

Judicial Council of California
POS-010 [Rev. January 1, 2007]
